   Case 1:20-cv-00757-MN Document 4 Filed 11/02/20 Page 1 of 5 PageID #: 49




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE


 LEE MORGAN, derivatively on behalf of
 TILRAY, INC.,


                         Plaintiff,


                 v.                                    Case No.: 20-cv-00757-MN

 BRENDAN KENNEDY, MICHAEL
 AUERBACH, REBEKAH DOPP, MARYSCOTT
 GREENWOOD, CHRISTINE ST. CLARE, AND
 MARK CASTANEDA,

                         Defendants,

 TILRAY, INC.,

                         Nominal Defendant.


                           STIPULATION AND [PROPOSED] ORDER

       Lee Morgan (“Plaintiff”), derivatively on behalf of Nominal Defendant Tilray, Inc.

(“Tilray”), and Defendants Brendan Kennedy, Michael Auerbach, Rebekah Dopp, Maryscott

Greenwood, Christine St. Clare, and Mark Castaneda (“Individual Defendants”) and with Tilray

(collectively, the “Defendants”) and together with Plaintiff (collectively, the “Parties”) jointly

submit this Stipulation to temporarily stay the above-captioned derivative action (“Stipulation”),

and in support thereof state as follows:

       WHEREAS, Plaintiff filed the above-captioned action on behalf of and for the benefit of

Tilray against Defendants seeking to remedy Defendants’ alleged breach of fiduciary duties, unjust

enrichment, and violations of Section 14(a) of the Securities Exchange Act of 1934 (“Exchange

Act”) that allegedly have caused harm to Tilray (the “Action”);
   Case 1:20-cv-00757-MN Document 4 Filed 11/02/20 Page 2 of 5 PageID #: 50




          WHEREAS, pending in the United States District Court for the Southern District of New

York is a putative securities class action captioned: Kasilingam v. Tilray, Inc., et al., Case No.: 20-

cv-03459-PAC (the “Securities Class Action”);

          WHEREAS, Plaintiff maintains that the Action has merit independent of and is not

dependent on the ultimate outcome of the Securities Class Action;

          WHEREAS, there is substantial overlap between the facts and circumstances alleged in the

Action and the Securities Class Action, including the relevance of many of the same documents and

witnesses;

          WHEREAS, the Securities Class Action Defendants anticipate filing a motion to dismiss

for failure to state a claim;

          WHEREAS, the Parties agree that a decision on the pending motion to dismiss the

Securities Class Action could have important implications for the efficient prosecution of the

Action;

          WHEREAS, pursuant to the Private Securities Litigation Reform Act (“Reform Act”), 15

U.S.C. § 78u–4(b)(3)(B), “all discovery and other proceedings shall be stayed during the pendency

of any motion to dismiss” and, as result, until the court decides the Securities Class Action

Defendants’ anticipated motion to dismiss, the Securities Class Action will be stayed;

          WHEREAS, in order to ensure economy of time and effort for the Court, for counsel, and

for litigants, Plaintiff and Defendants have agreed that, in light of the overlap between the Action

and the Securities Class Action, and in light of the stay of proceedings which the Parties anticipate

will commence by operation of law following the filing of a motion to dismiss in the Securities

Class Action, that the Action should be voluntarily stayed on the terms set forth below unless and

until either (1) the Securities Class Action is dismissed, with prejudice, by the court, and all appeals
   Case 1:20-cv-00757-MN Document 4 Filed 11/02/20 Page 3 of 5 PageID #: 51




related thereto have been exhausted; or (2) the motion to dismiss the Securities Class Action is

denied in whole or in part, and the Reform Act stay dissolves as a matter of law; or (3) any of the

Parties to this Stipulation gives a fifteen (15) day notice that they no longer consent to the voluntary

stay of the Action;

        NOW THEREFORE, it is hereby stipulated by and between the undersigned that:

        1.      Defendants hereby waive service of summons and accept service of the Complaint,

preserving all defenses and objections to the initial Complaint including, but not limited to, the

Court’s jurisdiction, but waiving only any objections to insufficient process or insufficient service

of process.

        2.      The Parties agree that notwithstanding this stay of the Action, Plaintiff may file an

amended complaint; however, Defendants need not answer or otherwise respond to the Complaint

or to any other complaint or amended complaint that is filed in or consolidated with the above-

captioned action during the pendency of this stay.

        3.      The Action shall be stayed, and no Case Management Order issued, upon the

Court’s so-ordering this Stipulation as an Order of the Court.

        4.      Defendants agree that, in the event the parties to the Securities Class Action or to

any related derivative action (including any demands or actions pursuant to 8 Del. C. § 220),

whether threatened or filed, purportedly brought or threatened to be brought on behalf of Tilray

arising from substantially similar facts and asserting substantially similar claims as this Action,

whether filed in this Court or in another court (a “Related Derivative Action”) agree to attend either

a court-ordered settlement conference or party-scheduled mediation, Defendants agree to provide

Plaintiff with reasonable advance notice and shall invite Plaintiff to participate therein.
   Case 1:20-cv-00757-MN Document 4 Filed 11/02/20 Page 4 of 5 PageID #: 52




    5. Defendants shall promptly notify Plaintiff of any Related Derivative Actions commenced

during the stay.

    6. Defendants shall promptly notify Plaintiff if any Related Derivative Action is not stayed

for a similar or longer duration.

        7.      Upon occurrence of any of (1) the dismissal of the Securities Class Action, with

prejudice, by that court, and exhaustion of all appeals related thereto; or (2) the denial of any

motion to dismiss the Securities Class Action in whole or in part; or (3) fifteen (15) days after any

of the Parties to this Stipulation has given notice that they no longer consent to the voluntary stay

of the Derivative Litigation, then the stay shall be lifted and the Parties shall notify the Court within

fifteen (15) days after the occurrence of any of the events above.
   Case 1:20-cv-00757-MN Document 4 Filed 11/02/20 Page 5 of 5 PageID #: 53




Dated: November 2, 2020


 POTTER ANDERSON & CORROON LLP                  DELEEUW LAW LLC

 /s/ Michael A. Pittenger                       /s/ P. Bradford deLeeuw
 Michael A. Pittenger (#3212)                   P. Bradford deLeeuw (#3569)
 1313 N. Market Street, 6th Floor               1301 Walnut Green Road
 Wilmington, DE 19801-6108                      Wilmington, DE 19807
 Tel.: (302) 984-6136                           Tel.: (302) 274-2180
 Fax: (302) 658-1192                            brad@deleeuwlaw.com
 mpittenger@potteranderson.com

 BAKER & HOSTETLER LLP                          HYNES & HERNANDEZ, LLC

 Douglas W. Greene (pro hac vice forthcoming)
                                                Michael J. Hynes
 45 Rockefeller Plaza
                                                101 Lindenwood Drive, Suite 225
 New York, NY 10111-0100
                                                Malvern, PA 19355
 Tel: (212) 589-4200
                                                Tel.: (484) 875-3116
 Fax: (212) 589-4201
                                                Fax: (484) 875-9273
 dgreene@bakerlaw.com
                                                mhynes@hh-lawfirm.com
 999 Third Avenue, Suite 3600
 Seattle, WA 98104-4040                         BRAGAR EAGEL & SQUIRE, P.C.
 Tel.: (206) 332-1380
 Fax: (206) 624-7317                            Melissa A. Fortunato
                                                885 Third Avenue, Suite 3040
                                                New York, NY 10022
                                                Tel.: (212) 308-1869
                                                Fax: (212) 486-0462
 Attorneys for Individual Defendants and        Fortunato@bespc.com
 Nominal Defendant Tilray, Inc.
                                                Attorneys for Plaintiff



SO ORDERED:


________________________
United States District Court
